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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

Tryp Hotels Worldwide, Inc.,

Civil Action No.

Plaintiff, . 2141-11557 (MEF) (USA)

OPINION and ORDER

Sebastian Hotel, LLC, et al.,

Defendants.
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A hotel franchisor and a hotel owner entered into a franchise
An individual guaranteed the agreement.

agreement.

The hotel owner terminated the franchise agreement.

The franchisor then sued the hotel owner and the guarantor,
mainly for breach of the franchise agreement.

The franchisor has now moved for summary judgement.

The motion is granted in part.

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I. Background

A. Facts

During late 2016, a hotel franchisor! and a hotel owner? entered
into two agreements.

The first was a franchise agreement. See Affidavit of Kendra
Mallett in Support of Plaintiff's Motion for Summary Judgement
and to Dismiss Defendants’ Counterclaim (May 15, 2023) (“Mailet
Affidavit”), Exhibit A (“Franchise Agreement”).

Attached to the franchise agreement was a guaranty. See Mallett
Affidavit, Exhibit B (“Guaranty”). The guarantor was an
individual.? See id. Under the guaranty, if the hotel owner did
not fulfill certain obligations under the franchise agreement,
the guarantor had to fulfili them. See id.

The second agreement was a note. See Mallett Affidavit, Exhibit
Cc (*Note”})., It set the repayment terms for a loan that had been
made by the hotel franchisor. See id. at 1. Under the note,
the hotel owner and the guarantor had to pay the hotel
franchisor when a certain hotel was opened. See id.

Early in 2021, the hotel owner’s attorney wrote a letter to the
hotel franchisor. The letter read, in part: “[{the] franchise
agreement . . . is hereby terminated.” See Mallett Affidavit,
Exhibit F at 1.

B. Procedural History

Soon after receiving the above-referenced letter, the hotel
franchisor sued the hotel owner and the guarantor.

From here, the hotel franchisor is referred to as “the
Plaintiff” or “the Hotel Franchisor.”* The hotel owner is
referred to as “the Corporate Defendant” or “the Hotel Owner.”
The guarantor is referred to as “the Individual Defendant” or

1 Tryp Hotels Worldwide, Inc.

2 Sebastian Hotel, LLC. The managing member of Sebastian Hotel,
LLC was Alexander Samardzich.

3. Alexander Samardzich.
4 The Plaintiff/Hotel Franchisor is Tryp Hotels Woridwide, Inc.

5 The Corporate Defendant/Hotel Owner is Sebastian Hotel, LLC.

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“the Guarantor.”& Together, the Corporate Defendant and the
Individual Defendant are referred to as “the Defendants.”

The main basis of the lawsuit: the franchise agreement was
breached and the Plaintiff is therefore entitled to damages.
See Complaint TI 33-37, 44-46, 52-54, 56-58.

The Defendants’ core response is in two parts, each framed as a
set of counterclaims.

The first set of counterclaims: the Plaintiff’s claim for breach
of the franchise agreement fails because the Hotel Owner was
wrongly induced to enter the agreement, and it is therefore
void. See Answer and Counterclaim, Counterclaim 99 40-45, 48-
50.

The second set of counterclaims: the Plaintiff's claim for
preach of the franchise agreement fails because the Plaintiff
breached the agreement before the Hotel Owner did. See id. at
TW 36-38.

Cc. The Motion

Discovery is complete, and the Plaintiff now moves for summary
judgement as to: (a) the two sets of counterclaims sketched out
above; (b) the Defendants’ liability for breach of the franchise
agreement, plus breach of the guaranty and the note; (c) damages
for these breaches; and (d) attorneys’ fees. See Motion for
Summary Judgement at 5-6, 9, 15-16.

The motion is before the Court. It is granted in part.

D. The Court’s Approach

The Court first lays out the general legal principles that
govern here. See Part ITI.

Next, the Court analyzes the Defendants’ two sets of
counterclaims. As noted, these are the Defendants’ main
response to the Plaintiff’s claim for breach of the franchise
agreement. The Court’s conclusion: the Plaintiff is entitled to
summary judgment on the counterclaims. See Part III.

The Court then takes up the Plaintiff’s motion for summary
judgment as to breach of the various contracts here —-~ the
franchise agreement, pilus the guaranty and the note.

6 fhe Individual Defendant/Guarantor is Alexander Samardzich.

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As to liability, see Part IV, the Court concludes the
Plaintiff's motion must be granted.

As to damages, see Part V, the Court concludes factual disputes
preclude summary judgment.

As to attorneys’ fees, see Part VI, the Court holds that issue
is not ripe for decision.

II. Legal Principles

A. Summary Judgment

A motion for summary judgement should be granted if “the movant
shows that there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a); see also Dupree v. Younger, 598 U.S. 729,
737 (2023); Cellco P’ship v. White Deer Twp. Zoning Hearing Bd.,
74 F.4th 96, 100 (3d Cir. 2023).

“A factual dispute is material if it might affect the outcome of
the suit under the governing law.” Canada v. Samuel Grossi &
Sons, Inc., 49 F.4th 340, 345 (3d Cir. 2022) (cleaned up); see
also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Such a dispute is genuine “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving
party[.]”% SodexoMAGIC, LLC v. Drexel Univ., 24 F.4th 183, 203-
204 (3d Cir. 2022).

In assessing a summary judgment motion, “a district court may
not make credibility determinations or engage in any weighing of
the evidence[.]” Marino v. Indus. Crating Co., 358 F.3d 241,

247 (3d Cir. 2004). Rather, the court must “view the facts in
the light most favorable to the non-moving party and [draw] ail
reasonable inferences in that party’s favor.” Canada, 49 F.4th

at 345 (cleaned up); accord Tolan v. Cotton, 572 U.S. 650, 660
(2014).

B. Choice of Law

New Jersey law applies here,

The parties’ briefs assume throughout that New Jersey Law
governs. And with good reason: the franchise agreement, the
note, and the guaranty each say they are controlled by New
Jersey law. See Franchise Agreement § 17.6.1; Note at 2;
Guaranty at 1; see generally Instructional Sys., Inc. v.
Computer Curriculum Corp., 130 N.J. 324, 341 (1992)

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{“Ordinarily, when parties to a contract have agreed to be
governed by the laws of a particular state, New Jersey courts
will uphold the contractual choice.”);7 cf. Smith v.
Citimortgage, Inc., 2023 WL 7619155, at *3 (D.N.J. Nov. 14,
2023) (noting that legal briefs’ assumption that New Jersey law
governs supports application of New Jersey law).

TIL. The Defendants’ Counterclaims

The Defendants contend that the Plaintiff’s claim for breach of
the franchise agreement, see Complaint (9 32-37, cannot be
sustained.

First, the Defendants counterclaim, see Answer & Counterclaim,
Counterclaim, FI 40-45, 48-50, the franchise agreement is void.
And second, the Defendants counterclaim, see id, at WTI 35-38,
the Plaintiff breached the franchise agreement first.

The Plaintiff has moved for summary judgment as to these
counterclaims.

fhe motion is granted. The Court explains why below, as to the
first set of counterclaims, see Part III.A, and then the second,
see Part III.B.

A. The First Set of Counterclaims

As noted, the Defendants’ first set of counterclaims is that the
Hotel Owner/Corporate Defendant was wrongly induced by the Hotel
Franchisor/Plaintiff to enter into the franchise agreement. See
Answer and Counterclaim, Counterclaim IJ 40-45, 48-50.
Therefore, the argument goes, the franchise agreement is void
and the Hotel Owner cannot be sued by the Hotel Franchisor for
breaching it.®

7 Under Klaxon Co. v. Stentor EBlec. Mfg. Co., 313 U.S. 487, 496-
97 (1941), New Jersey’s choice of law rules are controlling
because this is a diversity case. See Complaint @ 5 (invoking
the Court’s jurisdiction based on the diversity statute). One
of those New Jersey rules, as noted in the text, is that the
parties’ contractual choice-of-law decisions are generally
upheld.

8 A point at the outset. The Defendants’ argument that the
Hotel Owner was wrongly induced to enter into the franchise
agreement is the basis for two counterclaims. One rests on the
doctrine of fraudulent inducement. See Answer and Counterclaim
qq 40-45. The other on negligent misrepresentation. See id.-at

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Start the analysis with the fundamental legal principles in
play.

Under New Jersey law, a party can make out a wrongful inducement
claim, whether it sounds in fraudulent inducement or negligent

misrepresentation, by showing, among other things: (1). that it
took action in reliance on a statement from a second party, and
(2) the statement was a misrepresentation --- it was false at

the time it was made. See, e.g., Kaufman, 165 N.J. at 109;
Gennari, 148 N.d. at 610; H. Rosenblum, 93 N.J. at 334; Walid v.
Yolanda for Irene Couture, Inc., 40 A.3d 85, 90-92 (N.¢. Super.
Ct. App. Div. 2012); St. Anargyroi, XIX, Inc. v. Atl. Title
Agency, inc., 2012 WL 1948622, at *5-6 (N.uU. Super. Ct. App.
Div. May 20, 2012); Iglesia v. Tootsie Roll Indus., ULC, 2021
U.S. Dist. LEXIS 200269, at *26-27 (D.N.J. Oct. 18, 2021); Mason
vy. Coca-Cola Co., 774 F. Supp. 2d 699, 704 (D.N.J. 2011).

Under New Jersey law, statements of opinion, predictions, and
puffery generally do not count as misrepresentations in this
context. See Shtutman v. Carr, 2017 WL 4402045, at *4. (N.d.
Super. Ct. App. Div. Oct. 4, 2017); Pantelopoutos v. Fort Lee
Fed. Savings Bank, 2013 N.J. Super. Unpub. LEXTS 2082, at *40-41
(App. Div. Aug. 20, 2013); Suarez v. B. Int’]l Coll., 50 A.3d 75,
85 (N.d. Super. Ct. App. Div. 2012); Masone v. Levine, 887 A.2d
1191, 1195 (N.J. Super. Ct. App. Div. 2005); Daibo v. Kirsch,

120 A.2d 994, 998-99 (N.J. Super. Ct. App. Div. 1998);

q§ 48-50. There are some differences between the two doctrines.
See generally Gennari v. Weichert Co. Realtors, 148 N.J. 582,
610 (1997); H. Rosenblum, Inc. v. Adler, 93 N.J. 324, 334 (1983)
superseded by statute on other grounds; McMullin v. Casaburi,
2018 WL 3673256, at *2-4 (N.J. Super. Ct. App. Div. Aug. 3,
2018). But those differences do not matter here. This is
because both doctrines require that a party was induced to do
something by a misrepresentation. See Union Ink. Co., Inc. v.
AT&T Corp., 801 A.2d 361, 379 {(N.J. Super. Ct. App. Div. 2022)
(“Incorrect statement and misstatement of fact are elements of
both . . . fraud and negligent misrepresentation”); 48
Horsehill, LLC v. Kenro Corp., 2006 WL 349739, at *9 {N.J.
Super. Ct. App. Div. Feb. 22, 2006) (fraud and negligent
misrepresentation “both require ‘the plaintiff to have received
or relied on any of the alleged misstatements’”) (quoting
Kaufman v. i-Stat Corp., 165 N.J. 94, 109 (2000)} (cieaned up).
And the Court concludes below that no misrepresentation was made
here. The Court’s description of the law in the text that
follows this footnote covers the area of overlap between the two
doctrines, and ignores the differences between them because
those are not relevant to the resolution of this motion.

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Prometheus Innovation Corp. v. Huntington Learning Cts., Inc.,
2022 N.J. Super. Unpub. LEXIS 2030, at *8-9 (Nov, 2, 2022);
Alexander v. CIGNA Corp., 991 F. Supp. 427, 435 (D.N.J. 1998).

Here, the relevant counterclaims, see Answer & Counterclaim 4
40-45, 48-50, allege that the Hotei Owner was induced to enter
the franchise agreement based on misrepresentations made by the
Hotel Franchisor ~-- and therefore the franchise agreement is
void and the Hotel Franchisor cannot sue for breach of it.

Three misrepresentations are alleged.

Take them below, each in turn.

1. “Fit”

First, the Defendants contend that before the Hotel Owner signed
the franchise agreement, one of the Hotel Franchisor’s employees
suggested the Franchisor’s brand would be a good “fit” for the
hotel, even though the employee “knew. . . at wasn’t[.1%
Memorandum in Opposition at 10, 21, 23-24.

The Hotel Franchisor’s employee emphasized “fit” as a selling
point. See Brewster Certification, Exhibit B, Casper Deposition
39:12-14 (“Casper Depo.”) (an employee of the Hotel Franchisor
told an employee of the Hotel Owner that she “felt [the Hotel
Franchisor’s brand] would be a better fit for the hotel.”).9

But this does not suggest improper inducement, for two reasons.

First, future predictions --- for example, about how close the
“fit” might ultimately prove to be between the Hotel

9 The Hotel Franchisor’s employee’s statement is oral, but it
may be considered here, even though the franchise agreement has
an “integration” clause. See Franchise Agreement § 17.7.4.
This is because “it is well-settled under New Jersey law that
the mere inclusion of a general statement in a contract stating
that the parties relied on no oral representations will not
necessarily bar the introduction of parole evidence to determine
if assent was fraudulently induced and thus the contract is
vyoidable.” Baymont Franchise Sys. v. SB Hospitality, 2022 Wh
2063623, at *7 (D.N.U. June 8, 2022); see aiso Ocean Cape Hotel
Corp. v. Masefield Corp., 164 A.2d 607, 611 (N.J. Super, Ct.
App. Div. 1960); Timken Silent Automatic Corp. v. Vetrovec, 119
N.d.L. 506, 503 (N.J. 1938).

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Franchisor’s brand and the Hotel --- cannot generally form the
basis for an inducement claim under New Jersey law.?°

10 See Pantelopoulos, 2013 N.J. Super. Unpub. LEXIS 2082, at
*41-41 (“Statements as to future or contingent events, to
expectations or probabilities . . . do not constitute
misrepresentations, even though they may turn out to be wrong,
For a statement to constitute a material misrepresentation, the
statement’s content must be susceptible of exact knowledge at
the time it was made.”) (quoting Alexander, 991 F. Supp. 427,
435); Prometheus Innovation Corp., 2022 N.J. Super. Unpub. LEXIS
2030, at *8-9 (same first sentence); Shtutman, 2017 WL 4402045,
at *4 (same, and “neither expressions of opinion, nor ‘puffery,’
will satisfy this element of fraud. A statement is a matter of
fact if it is susceptible of exact knowledge when the statement
was made[.] [I]t is a matter of opinion if it is unsusceptible
of proof at that time. However persuasive, an opinion that the
customer is in good hands . . . is nothing more than puffery

Saying a product is the best . . . is only a statement of the
seller’s opinion. Statements that a house is very saleable were
merely opinions rather than a material representation of a
presently existing or past fact. Similarly, fraud cannot be
predicated on representations as to value.”) {cleaned up &
internal citations omitted); Suarez, 50 A.3d at 85 (“plaintiff
must show the misrepresentation of a fact that exists at or
before the time the representation is made. Hence, neither
expressions of opinion . . . nor “puffery” . . . will satisfy
this element of fraud. [The] statements regarding plaintiff's
potential employment and earning capacity were not statements of
present or previously existing facts and therefore cannot
provide the basis for a claim based on common law fraud.”);
Masone, 887 A.2d at 1195 (“the plaintiff must establish that the
defendant negligently made an incorrect statement of a past or
existing fact”); Daibo, 720 A.2d at 999 (representations as to
the value of property are opinions and not statements of fact).
In this vein, note that statements that something is the “best”
are generally opinions, not misrepresentations. See EP Henry
Corp. v. Cambridge Pavers, Inc., 383 F. Supp. 3d 343, 350
(D.N.d. 2019) (“when [a company] represents that its products
are the ‘best,’ or that its .. . ‘Distributors are the best,’
it represents the type of exaggerated statement regularly made
by companies, which is unverifiable” and a matter of opinion);
In re Toshiba Am. HD Mktg. & Sales Practices Litig., 2009 WL
2940081, at *9 (D.N.J. Sept. 11, 2009) (“[w]hether something is
the ‘best’ is highly subjective, fand] is almost always a matter
of opinion”).

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To see the second problem, note that the Defendants’ core
contention is that the Hotel Franchisor’s employee knew the
Franchisor’s brand was not the right “fit” for the hotel when
she suggested it was. See Memorandum in Opposition at 10, 21,
23-24,

But that argument is not backed up by evidence,
At her deposition, the employee testified that she thought the

hotel “seemed to fit the brand potentially” and “if we wanted it
to be a [hotel that used the Hotel Franchisor'’s brand], it could

be one... it could fit the... brand,” because of the
structure of the rooms and modern style of the building, even
though the location was “not ideal, but not bad.” Brewster

Certification, Exhibit A, Ashton Deposition (“Ashton Depo.”)
52:1-53:10.

There is nothing in this that suggests the Hotel Franchisor’s
employee said something to the Hotel Owner that she did not, in
fact, believe. The quoted statements are somewhat equivocal.
But no matter. No one can perfectly tell the future. A bit of
hedging can be the mark of thoughtful and good-faith prediction.

Accordingly, some hedging (“seemed,” “potentially,” etc.) is, by
itself, insufficient proof as a matter of law that the Hotel
Franchisor’s employee was lying --- that she suggested one thing

(good fit) but thought another (bad fit).

And that is virtually?! all that is put forward. The Defendants
have not drawn the Court’s attention to any evidence that
suggests the Hotel Franchisor’s employee was not speaking
honestly. For example, the Defendants point to no contradictory
internal emails, or to conversations between the employee and
anyone else.

In sum: (1) opinions as to the future (here, of a good “fit”) do
not generally count in this context as misrepresentations, and
{2} even if they could generally count as misrepresentations,
they would not here --- because there is no evidence that the

il The Defendants also cite an email sent by the employee to the
Guarantor. But the email only says that the employee wanted to
discuss the potential for the hotel to be a part of the Hotel
Franchisor’s brand. See Declaration of Alexzander Samardzich,
Exhibit A.

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Hotel Franchisor’s employee did not believe the predictions she
made, 14

2. Growth

The Defendants’ second argument: the Hotel Owner was induced to
sign the franchise agreement by a promise from the Hotel
Franchisor that the Franchisor’s brand would grow --- and this
promise was false. See Memorandum in Opposition at 10;
Defendants’ Supplemental Statement of Material Facts € 13.

For this point, as to the period before the execution of the
franchise agreement, the Defendants focus on two pieces of
evidence: the Guarantor’s deposition and his declaration.

In the deposition, the Guarantor testified that he was told by
the Hotel Franchisor’s employee that the Hotel Franchisor
intended to grow the brand. See Brewster Certification, Exhibit
F, Alexander Samardzich Deposition (“Samardzich Depo.”) 82:21-
83:2 (Q: “So I assume it was Kate Ashton at that point in time,
she made a representation that ... it was... Tryp’s
intention to grow the brand” A: “yes”); Ashton Depo. 56:12-18
(Plaintiff’s employee describing her statements, including
saying the Plaintiff “wanted to increase, grow all [of our
hotel] brands”}.

In his declaration, the Guarantor went further --- suggesting
the Hotel Franchisor promised not to try to grow the brand, but
rather to actually deliver growth. “[T]hrough its various

representatives, [the Plaintiff] promised to expand this

12 At one point, the Defendants also seem to suggest it was
unreasonable for the Hotel Franchisor’s employee to believe the
hotel was a good fit because it was not located in a downtown
location. See Memorandum in Opposition at 24. But this
argument is not meaningfully developed. It is not, for example,
supported by citations to evidence or law. It is pressed in too

glancing a way to be treated as having been raised here. See
generally Walker v. Roman, 2016 WL 5934692, at *4 (D.N.J. Oct.
12, 2016) (“Once a properly supported motion for summary

judgment has been made, the non-movant’s burden is rigorous:
he ‘must point to concrete evidence in the record that supports

each and every essential element of his case.’”) (quoting
Orsatti v. New Jersey State Police, 71 F.3d 480, 484 (3d Cir.
1995)). More generally, the Defendants press no substantial

arguments as to why it may have been negligent to make any of
the complained-of statements described in Part III.A. Instead,
they focus solely on arguing the statements were knowingly
false. That is, therefore, the argument the Court addresses.

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exciting new brand that was up and coming.” Declaration of
Alexander Samardzich € 14.

What to make of the declaration? It is not easy to say.

If the declaration purports to rest on an increment of evidence
beyond what the Guarantor described in his deposition, then the
declaration does not say soa.

And if the declaration purports to summarize what the Guarantor
said in his deposition, then the declaration is not entitled to
its own independent weight, because it is simply shorthand for
the deposition evidence.}4

But put all this to one side, and assume for present purposes
that the Hotel Gwner was induced to sign the franchise agreement
by a promise from the Hotel Franchisor that it would grow its
hotel brand, not just try to.

Still, though, on the Defendants’ argument, see footnote 12,
there would need to be evidence that this promise was false when
made. See generally Suarez, 428 N.J. Super. at 29 {the party
“must show the misrepresentation of a fact that exists at or
before the time the representation is made”); Masone, 887 A.2d
at 1195 (“the plaintiff must establish that the defendant
negligently made an incorrect statement of a past or existing
fact, fand] that the plaintiff justifiably relied on it”).

But no such evidence has been put forward.

And indeed: the proof before the Court is that the number of
United States hotels bearing the Hotel Franchisor’s brand grew
from three {when the 2016 agreements were signed) to six (in
2023). See Brewster Certification, Exhibit I; Declaration of
Alexander Samardzich { 14.1%

13° And if it is shorthand, the declaration is not as accurate as
it might be. There is a critical difference between pledging to
try to accomplish something and guaranteeing the thing will be
accomplished. Cf. Pantelopoulos, 2013 N.J. Super. Unpub. LEXIS
2082, at *40-41; Prometheus Innovation Corp., 2022 N.J. Super.
Unpub. LEXTS 2030, at *8-9; Shtutman, 2017 WL 4402045, at *4;
Alexander, 991 F. Supp. at 434.

14 A move from three hotels to six hotels was not as much growth
as the Defendants wanted. But there is no evidence the
Defendants were told something more specific --- for example,
about growth at a particular rate. And that is part of why the
Defendants’ citation to Baymont Franchise Systems, 2022 Wh

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In addition to arguing they were fraudulently induced to enter
the 2016 franchise agreement, the Defendants aiso contend they
were thinking of leaving the agreement (seemingly around 20181)
but were fraudulently induced to remain in it by statements
about growth of the hotel brand. See Memorandum in Opposition
at 23,16

But this argument is not persuasive.

To see why, look to the five main pieces of evidence put forward
by the Defendants in support of their argument about assertedly
false statements by the Hotel Franchisor from 2018 to the
present. See Defendant’s Supplemental Statement of Undisputed
Material Facts 9% 17-20.

First, the Guarantor testified that he was told by an employee
of the Hotel Franchisor that the employee pianned to grow the
brand. See Samardzich Depo. 73:5-13. But as noted above, there
is no evidence this was false. There is no proof that the Hotel
Franchisor did not plan to grow the brand. And in any event,
the brand grew.

Second, the Defendants cite an email from an employee of the
Hotel Franchisor that describes a “goal of 62% occupancy” and
says that the Hotel Franchisor’s employee would “do everything
in [his] power to get us to the goal.” See Deciaration of
Alexander Samardzich, Exhibit B. But no proof is offered that
this was false --~ that an occupancy goal had not in fact been

2063623, does not change the equation. In that case, a motion
for summary judgement was denied because of testimony that the
olaintiff told the defendant that “bookings were going to
increase by 40-50%” and “sales will go up a lot. Id, at *8.
Here, there were no comparably specific pledges about growth
meeting certain targets.

18 See Defendants’ Supplemental Statements of Undisputed
Material Facts 7 18; Declaration of Alexander Samardzich { 18;
Samardzich Depo. 73:5-10.

16 The Court assume for the purposes of this opinion that the
relevant inducement doctrines, fraudulent inducement and
negligent misrepresentation, can potentially void an already-
made contract based on misrepresentations that have the effect
of keeping a party in the contract.

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set, or that an intense effort was not being made to achieve the
goal.

Third, the Defendants cite another email, in which one of the
Hotel Franchisor’s employees said to the Guarantor that he and
his colleagues would “try and drive resuits” and had not
“wavered.” See Declaration of Alexander Samardzich, Exhibit C.
But there is, again, no evidence that this was false --- that
the employee was in fact not “tryfing],” and had in fact
“wavered.”

Same problem with the fourth piece of evidence. In an email,
one of the Hotel Franchisor’s employees pledged to provide “a
high level summary of the marketing calendar . . . for

this year.” See Declaration of Alexander Samardzich, Exhibit D.
But there is no evidence this was a faise pledge. (indeed, it
appears the marketing plan may in fact been provided. See
Brewster Certification, Exhibit C, Emanuelo Deposition 79:19-
80:15; Declaration of Alexander Samardzich, Exhibit D.).

Fifth and finally, one of the Hotel Franchisor’s employees
responded to a request from the Guarantor to state how many
hotels were “in the pipeline now.” See Declaration of Alexander
Samardzich, Exhibit EB. The response: 20 in the United States.
See id. But again: the Defendants proffer no evidence that this
was false --- that there were, in fact, less than 20 hotels on

deck.

* * *

In short: the Defendants contend the Hotel Owner was induced to
enter the franchise agreement, and to stay in it, by promises
made by the Hotel Franchisor as to future growth of the hotel
brand. But for this to potentially void the franchise
agreement, there must be evidence the promises of growth were
false when made. None has been put forward. At this stage, the
Defendants must “point to concrete evidence in the record that
supports each essential element of a claim on which jthey] will
bear the burden of proof at trial.” Heffron v. Adamar of N.J.,
Inc., 270 F. Supp. 2d 562, 575 (D.N.J, 2003) (cleaned up); see
also Greco v. T-Mobile, USA, 2010 WL 4981264, at *11 (D.N.d.
Dec. 1, 2010). They have not done so.??

17 At one point, the Defendants seem to suggest it was negligent
for the Hotel Franchisor to rely on a certain marketing
strategy. See Memorandum in Opposition at 22, 24. But this
argument is not developed. It is made with no citation to the
record evidence or to the law. Cf. footnote 12.

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3. Omitted Information

Finally, the Defendants assert the Hotel Owner was “induced to
enter the Franchise Agreement without being provided with key
information.” See Memorandum in Opposition at 13.

But this comes without elaboration as to what “key information”
was assertedly withheld. The Court’s best estimate, based on
references in other parts of the papers, is that the “key
information” was about the typical location of the Hotel
Franchisor’s hotels. See id. at 24; see also Defendants’
Supplemental Statement of Undisputed Material Fact @ 11."

The Court will proceed on that basis, and assumes for present
purposes that the Plaintiff said nothing about the typical
locations of the Hotel Franchisor’s hotels.

* * *

Leaving out important information can at least sometimes trigger
the two relevant inducement doctrines, fraudulent inducement and
negligent misrepresentation.

As to fraudulent inducement, “silence in the face of a duty to
disclose” can check the box. United Jersey Bank v. Kensey, 704
A.2da 38, 43 (N.d. Super. Ct. App. Div. 1997); see also Stawn v.
Canuso, 140 N.J. 43, 50, 59 (1995) superseded by statute;
Weintraub v. Krobatsch, 64 N.J. 445, 455-56 (1974). Likewise,
when there is a duty to disclose and the party withholds
material information, that can constitute negligent
misrepresentation. See Strawn v. Canuso, 140 N.J. 43, 50, 593
(1995) superseded by statute; Karu v. Feldman, 119 W.J. 135, 148
(1990).

But was there a duty to disclose here? The Defendants say yes,
but do not substantially explain why.

18 The Court’s hypothesis may be the wrong one. Indeed, the
only deposition testimony cited by the Defendants for this point
imay suggest the hotel location information was affirmatively
provided to the Hotel Defendant. See Memorandum in Opposition
at 21, 23, 24 (citing Ashton Depo. 49:1-51:25); Defendants’
Supplemental Statement of Undisputed Material Fact f 11 (same);
Ashton Depo. 52:1-11.

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Accordingly, step back for a moment to first principles.

Whether there is a duty to disclose in a context like this one,
as between parties negotiating a franchisor~franchisee
agreement, is a question of New Jersey law. See Part II.B.

To answer it, “the decisions of the [New Jersey] Supreme Court
are the authoritative source[.]” Spence v. Esab Grp., Inc., 623
F.3d 212, 216 (3d Cir. 2010). But as to this question, the New

Jersey Supreme Court has not issued a “controlling decision[.]”
Popa v. Harriet Carter Gifts, Inc., 52 F.4th lal, 125 (3d Cir.
2022); Nationwide Mut. Ins, Co. v. Buffetta, 230 F.3d 634, 637
(3d Cir. 2000).

Therefore, the Court needs to “predict” how the Supreme Court of
New Jersey will resolve the issue. See Spence, 623 F.3d at 216.

To do so, the Court considers various sources. These include:
intermediate state appellate court decisions, federal court
interpretations of the relevant state law, opinions from other
jurisdictions on the issue, and broader principles that the
Supreme Court of New Jersey applies in this general area. See
In re Energy Future Holdings Corp., 842 F.3d 247, 254 (3d Cir.
2016); Schulman v. Zoetis, Inc., 2023 WL 4539476, at *2, 6
(D.N.J. July 14, 2023).

Take these one at a time.

First, consider New Jersey intermediate appellate court
decisions. See Schulman, 2023 WL 4539476 at *2, 6.

They have held that a duty to disclose arises in “three general
classes of transactions.” United Jersey Bank v. Kensey, 704
A.2a 38, 44 (N.J. Super. Ct. App. Div. 1997); see also Berman v.
Gurwicz, 458 A.2da 1311 (N.d. Super. Ch. Div. 1981). The first:
transactions involving fiduciary relationships, such as between
an attorney and a client. See id. The second: when at least
one of the parties “expressly reposes .. . a trust and
confidence in the other .. . or because of the circumstances of
the case, the nature of their dealings, or their position
towards each other, such a trust and confidence... is
necessarily implied.” See id. (cleaned up). The third:
transactions which “in their essential nature, are intrinsically
fiduciary, and “necessarily call[ ] for perfect good faith and

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full disclosure, without regard to any particular intention of
the parties.” Id. (cleaned up} (brackets in original) .*

But an arms’ length negotiation between a franchisor and an
experienced franchisee --- and that is the situation here ~--
does not fit into any of these three categories.

Second, focus on federal court interpretations of New Jersey
law. See Schulman, 2023 WL 4539476 at *2, 6.

Courts applying New Jersey law have declined to find a duty to
disclose between two businesses entering into a franchise
agreement. See Q of Hasbrouck Heights, L.L.C. v. Qdoba
Restaurant Corp., 2020 WL 13828986, at *6, 6 n.12 (D.N.J. Sept.
3, 2020); Wyndam Hotels & Resorts, LLC v. NorthStar Mt. Olive,
LLC, 2013 WL 1314747, at *12 (D.N.d. March 28, 2013);
Katsiavrias v. Cendent Corp., 2009 WL 872172, at *4-5 (D.N.d¢.
March 3, 2009).

Third, look to how other jurisdictions have proceeded. See
Schulman, 2023 WL 4539476 at *2, 6.

Around the country, courts have generally held there is no duty
to disclose in the context of an arms-length franchisor-
franchisee relationship. See Topline Solutions, Inc. v. Sandler
Sys., Inc., 2017 WL 1862445, at *34-35 (D. Md. May 8, 2017)
(applying Maryland law); Long John Silver's Inc. v. Nickleson,
923 F. Supp. 2d 1004, 1021-22 (W.D. Ky. 2013) (applying Kentucky
law); Brock v. Baskin Robbins, USA, Co., 2003 WL 21309428, at *3
(E.D. Tex. Jan. 17, 2003); Ahmed v. Getty Petroleum Mktg. Inc.,
2003 WL 21262131, at *3 (N.Y. Sup. Ct. May 14, 2003) {applying
New York law}; Interim Healthcare of Ne. Ohio, Inc. v. Interim
Servs., Inc., 12 F. Supp. 2d 703, 712 (N.D. Oh. 1998) (applying
Ohio law); Barnes v. Burger King Corp., 932 F. Supp. 1420, 1430
(S.D. Fla. 1996) (applying Florida law); O’Neal v. Burger Chef
Sys., Inc., 860 F.2d 1341, 1350 (6th Cir. 1988) (applying

12 New Jersey’s approach is consistent with the approach
typically taken by courts around the country. See Restatement
(Second) of Torts § 551(2) (a); 37 C.JU.S. Fraud § 33 (March
2024); Dobb’s Law cf Torts § 682 (2d ed.); Williston on
Contracts § 69:17 (4th ed.).

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Tennessee Law); Vaughn v. Gen. Foods Corp., 797 F.2d 1403, 1414
(7th Cir. 1986) {applying Illinois law) .#9

Fourth and finally, take general legal principles as articulated
by the New Jersey Supreme Court. See Schulman, 2023 WL 4539476
at *2, 6.

The New Jersey Supreme Court has noted that “[w]lhen courts have
recognized a duty to disclose information for purposes of
imposing tort liability, they have focused on the course of
dealings between the parties and the express contractual
undertaking.” Karu, 119 N.J. at 150. In particular, the New
Jersey Supreme Court has sometimes imposed a duty of disclosure
when a lay person is entering into an agreement with a
professional within the scope of the professional’s expertise.
See, e.g., President v. Jenkins, 180 N.J. 550, 568-69 (2004)
(insurance agent with insured, imposing duty to disclose on
insurance agent); Matthies v. Mastromonaco, 160 N.J. 26, 33-39
(1999) (physician and patient, imposing duty to disclose on
physician); Strawn, 140 N.J. at 60 (developer and real estate
broker with prospective buyer, imposing duty to disclose on
developer and real estate broker); cf. City Check Cashing, Inc.
v. Mfrs, Hanover Trust Co., 166 N.J. 49, 59-60 (2001) (noting
courts sometimes impose a duty on banks dealing with, among
others, customers).

But none of this suggests a duty to disclose in a case like this
one. Here, no substantial argument is made from a set of
expectations that grew up from the “dealings between the
parties.” Karu, 119 N.J. at 150. And there is nothing about
the nature of the parties’ relationship, a franchisor dealing
with an experienced franchisee, that suggests that the latter
cannot protect its own interests such that a duty to disclose
might need tc be imposed under the New Jersey Supreme Court's
Jurisprudence.

In short: New Jersey intermediate appellate decisions, federal
court opinions applying New Jersey law, relevant cases from

20 Courts have also held there is no duty to disclose between a
prospective franchisee and a franchisor. See Rivermont Inn,
Inc. v. Bass Hotels & Resorts, Inc., 113 S.W.3d 636, 641 (Ky.
Ct. App. 20033 (applying Kentucky Law); America’s Favorite
Chicken Co. v. Cajun Enters., Inc., 130 F.3d 180, 186 (5th Cir.
1997) (applying Louisiana law}; Reyes v. Atl. Richfield Co., 12
F.3d 1464, 1472 (9th Cir. 1993) (applying California law).

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other jurisdictions, and New Jersey Supreme Court cases invoking
relevant general propositions all point in the same direction.

Given this, the Court predicts that the New Jersey Supreme Court
will hold that no duty to disclose is generally imposed on a
franchisor negotiating a franchise agreement with an experienced
prospective franchisee on an arms’ length basis.

* * *

This prediction is dispositive.

The Guarantor was the managing member of the Hotel Owner, see
footnote 2, had ample experience with other hotel franchises and
had been involved in the hotel industry since 1993. See
Samardzich Depo. 15:10-13, 16:21-17:1-2. And the franchise
agreement underscored what was plainly the case: “the franchise
relationship is an arms’ length, commercial business
relationship.” Franchise Agreement § 17.7.6; cf. South Broward
Hosp. Dist. v. MedQuist Inc., 516 F, Supp. 2d 370, 396 (D.N.J.
2007) (“[t]he arm's length negotiation of a contract between two
corporations . . . does not fall within the narrow circumstances

giving rise to. . . a duty to disclose under New Jersey law”).

In sum: the Plaintiff/Hotel Franchisor had no duty to disclose
that its hotel brand was generally associated with the downtown
areas of cities. Therefore, the Defendants cannot persuasively
argue that the franchise agreement must be voided if they were
not, indeed, told this.

4, Conclusion

The Defendants’ first set of counterclaims is based on the idea
that the Hotel Owner was wrongly induced to enter the franchise
agreement ~~~ with statements about brand fit and growth, and
with omissions about hotel locations. But these counterclaims
are not viable here, and the Plaintiff/Hotel Franchisor’s motion
for summary judgment as to the first set of counterclaims is
granted.

B. The Second Set of Counterclaims

Next, the Defendants counterclaim, see Answer & Counterclaim 11
36-38, the Hotel Defendant cannot be liable for breaching the
franchise agreement because the Hotel Franchisor breached it
first, as to promises related to (1) a reservation system, (2) a

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rewards program, and (3) marketing. See Memorandum in
Opposition at 15.

Take these one at a time.

1. Reservation System

In the franchise agreement, the Hotel Franchisor promised:

We will operate and maintain (directly or by contracting
with an affiliate or one of more third parties) a
computerized Reservation System or such technological
substitute(s) as we determine, in our discretion. During
the Term, the Facility will participate in the Reservation
System on an exclusive basis.

Franchise Agreement § 4.3

a. The Release

Any counterclaim based on failure to make good on the guoted
promise was released. Therefore, it cannot be pressed here.

The release was executed during September 2026 by the Hotel
Franchisor and the Hotel Owner. In it, the Hotel Owner agreed
to “[r]elease” the Hotel Franchisor “from any and all liability,
claims, damages, and causes of action arising out of the
administration” of the franchise agreement, “which arose and
were or could have been asserted by you before” the release was
signed on behalf of the Hotel Owner. Mallett Affidavit, Exhibit
Eat 2,41

The release covers any hotel reservation system counterclaim.

First, disputes about the hotel reservation system “arose”
before the release was signed. See Casper Depo. 47:6-20, 49:5-
12. Indeed, such disputes seem to have been fully resolved by
2018. See id.

And second, the counterclaim falls under tne release of “any and
ali” “claims” and “causes of action.” See Charles A. Manganaro
Consuiting Eng’rs, Inc. v. Carneys Point Twp. Sewage Auth., 781
A.20d 1116, 1118 (N.J. Super. Ct. App. Div. 2001) (“A
counterclaim is not simply a defensive pleading. It is an

affirmative effort to enforce . . . an affirmative claim.”}
{cleaned up); Dept. of Transp. v. PSC Res., Inc., 387 A.2d 393,
395 (N.J. Super. Ct. 1978) (“together with original claims and

21 Neither party argues that the release is void because the
Hotel Franchisor may not have physically siaqned it.

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crossclaims, a counterclaim is considered to be a ‘statement of
a cause of action.’”) (quoting Kelieher v. Lozzi, 7 N.Jd. 17, 22
(1951}); Jonathon H. v. The Souderton Area Sch. Dist., 562 F.3d
527, 529-30 (3d Cir. 2009) (“a counterclaim is a ‘claim for
relief asserted against an opposing party after an original

claim has been made’”) (quoting Black’s Law Dictionary 353 (8th
ed. 2004)); United Food Imps., Inc. v. Baroody Imps., Inc., 2010
WL 1382342, at *3 (D.N.U. Apr. 6, 2010) (“A counterclaim is

essentially its own action. To bring a claim, a party must have
standing to sue.”).

Against this conclusion, the Defendants offer one counter-
argument: that the release is not valid because the Hotel
Franchisor wrongly induced the Hotel Owner to enter into the
franchise agreement. See Memorandum in Opposition at 24.

But as noted above, see Part III.A.1, the inducement argument
does not have a meaningful basis in the evidence. And in any
event, the Defendants point to nothing in the record that
suggests that assertedly improper conduct by the Hotel
Franchisor in 2016 (such as saying the hotel brand would be a
good “fit”’) induced the execution of the release in 2020,

b,. The Merits

There is a second problem with the hotel reservation system
counterclaim.

To see it, start with the fundamental principle that upon a
material breach of a contract “the injured party has a genuine
election offered him of continuing performance or of ceasing to
perform, and any action indicating an intention to perform will
operate as a conclusive choice, not indeed depriving him of a
right of action for the breach which has already taken place,
but depriving him of any excuse for ceasing performance on his
own part.” Frank Stamato & Co. v. Borough of Lodi, 4 N.J. 14,
21 (1950) (cleaned up).

22 See also MyCWHome, LLC v. White, 2019 WL 5418356, at *5 (N.dJ.
Super. Ct. App. Div. Oct. 13, 2019) {“When a party continues
performance of a contract after a breach has occurred, the party
waives its right to sue for breach.”}; Knights Franchise Sys.,
Inc. v. P.C.P.S. Corp., 2009 WL 3526229, at *3 (D.N.J. Oct. 21
2009) (*It is axiomatic that when a party believes another
contacting party has breached its contractual obligations, the
injured party may either terminate the contract or continue to
perform and sue for damages, but if the injured party continues
to perform under the contract, it may oniy sue for damages

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This principle is ultimately dispositive here.

Flaws in the reservation system (which, as noted, seem to have
been fixed by 2018) may or may not have amounted to a breach of
the 2016 franchise agreement. If they did, that would
potentially have given the Hotel Owner the right to terminate
the agreement. See Frank Stamato & Co., 4 N.J. at 21 (when
there is a breach, “the injured party” may choose between
“continuing performance or of ceasing to perform”); Knights
Franchise Sys., Inc., 2009 Wh 3526229, at *3 (“when a party
believes another contacting party has breached” the contract,
the “party may either terminate the contract or continue to
perform and sue for damages”).

But the Hotel Owner did not exercise that right. Instead, it
continued to operate for years under the franchise agreement.
This was its choice.

But having made it, the Hotel Owner cannot now double back. The
Hotel Owner cannot use the Hotel Franchisor’s prior non-
performance as a justification for its own decision to later
walk away from the franchise agreement. See Frank Stamato &
Co., 4 N.d. at 21 (if a party choses to continue to perform
after a breach, that acts as a “conclusive choice” which
deprives the party of the right to use the breach as basis for
terminating the contract); Knights Franchise Sys., Inc., 2009 WL
3526229, at *3 (if a party continues to perform after a second
party's breach, the first party “may only sue for damages caused
by the breach” and may not terminate the contract using the

caused by the breach, but it may no longer rely on that breach
to excuse its own subsequent failure to perform contractual
obligations.”); see generally S&R Corp. v. Jiffy Lube Int’l,
Inc., 968 F.2d 371, 376 (3d Cir. 1992) (“Under basic contract
principles, when one party to a contract feels that the other
contracting party has breached its agreement, the non-breaching
party may either stop performance and assume the contract is
avoided, or continue its performance and sue for damages.”);
Fuller Co. v. Brown Minneapolis Tank & Fabricating Co., 678 F.
Supp. 506, 509-10 (E.D. Pa. 1987) (“[A] party cannot continue to
perform under the contract and later be heard to say that the
other party breached the agreement prior to the continued
performance, and therefore, no contract existed. By electing to
continue its performance, [the defendant] remains bound by the
terms of the contract. Its only remedy for [the piaintiff’s}
alleged breaches of the contract is a claim for monetary
damages.”); cf. Marino v. Brightside Gardens of Mountainside,
2023 WL 6366013, at *6-7 (D.N.J. Sept. 29, 2023).

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breach as an excuse}; see generally S&R Corp., 968 F.2d at 376
(“when one party to a contract feels that the other contracting
party has breached its agreement, the non~breaching party may
either stop performance and assume the contract is avoided, or
continue its performance and sue for damages”).

But that is what the Hotel Owner seeks to do here. The core
theory of the hotel reservations counterclaim is that the Hotel
Franchisor violated its obligations under the franchise
agreement --- and that as a result, years later, the Hotel Owner
was relieved of its own obligations under the agreement, even
though in the interim it had continued to perform under it. New
Jersey law, as set out just above, forecloses this argument.

2. Rewards Program

The Defendants’ next counterclaim is that the Hotel Franchisor
breached the franchise agreement by failing to provide access to
a franchise-wide rewards program ~~~ and that therefore the
Hotel Owner cannot be faulted for its own breach of the
agreement. See Answer & Counterclaim 9 36-37; Memorandum in
Opposition at 15.

This is net persuasive for three reasons.

First, the 2020 release covers this counterclaim. See Part

LIL.B.1l.a above. Disputes as to the rewards program “arose”
before the release was executed (and indeed those disputes
seemed to have been resolved by 2018). See Casper Depo. 49:5-
12.

Second, under the principles of New Jersey law set out above,
see Part ITI.B.1.6, the Hotel Owner cannot contend that an
earlier breach of the franchise agreement, allegedly by the
Hotel Franchisor, relieved it (the Hotei Owner) of its
obligation to continue to perform under the agreement.

Third and finally, the Defendants contend that Section 3.4.3 of
the franchise agreement was breached. See Memorandum in
Opposition at 15. But the cited section requires the Hotel
Owner to “participate in the [hotel franchise] Rewards program
or any successor guest rewards or loyalty programs [the Hotel
Franchisor] determine[s] is appropriate and pay the Loyalty
Program Charge.” Mallett Affidavit, Exhibit A. The Hotel
Franchisor could not have breached the franchise agreement by

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failing to perform an obligation that belonged to the Hotei
Owner. 73

3. Marketing

The Defendants’ next counterclaim rests on the premise that the
Hotel Franchisor breached the franchise agreement by not doing
the marketing activities it promised to. See Memorandum in
Opposition at 10; Defendants’ Responsive Statement to
Plaintiff’s Statement of Undisputed Material Facts Ff 9-24.

But the marketing-focused counterciaim has the same problems as
the others.

Tt is, first, barred by the 2020 release. See generally Part
TIT.B.l.a.

The Defendants complained about the Hotel Franchisor’s marketing
efforts from the first stages of the parties’ relationship. See
Defendants’ Supplemental Statement of Undisputed Material Facts
qi 15-18; Declaration of Alexander Samardzich 97 15-20. And the
evidence is of disputes that run through March 2020, when the
Hotel Franchisor allegedly stopped marketing activities in light
of the emergence of COVID-19. See Defendants’ Supplemental
Statement of Undisputed Material Facts 7 22; Declaration of
Alexander Samardzich 7 23.

Bottom line: marketing counterclaims “arose” well before
September 2020, when the release was executed. The release
therefore covered those claims, and they cannot be pressed
here,?4

23 The Defendants also cite more broadly to Section 3.4 of the
franchise agreement, not just to Section 3.4.3. See Memorandum
in Opposition at 15. But all of Section 3.4 concerns the Hotel
Owner's obligations to participate in marketing programs, not
the Hotel Franchisor’s. See Mallett Affidavit, Exhibit A §
3.4.1-3.4.2.

24 The marketing-focused counterclaim (as well as the
reservation and rewards counterclaims) might potentially be on
different footing if the evidence showed that aspects of it
arose after the release. But the closest the evidence gets to
that is of dissatisfaction from the Defendants with one of the
Hotel Franchisor’s marketing-focused employees in 2020. See
Samardzich Depo. 53:13-17; Casper Depo. 62:2-63:13. That
person, though, started working for the Plaintiff around 6
months before the release was entered. See Samardzich Depo.

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Second, the marketing counterclaims run aground on the
principles of New Jersey law set out above. See Part
IITIT.B.i.b.*

69:18-21. See generally Walker, 2016 WL 5934692, at *4 (“Once a
properly supported motion for summary judgment has been made,
the non-movant’s burden is rigorous: he ‘must point to concrete
evidence in the record that supports each and every essential
element of his case.’”} (quoting Orsatti, 71 F.3d at 484).

25 Two points.

First, it is not clear that a marketing-focused counterclaim
could prevail on the merits, because:. fa) it is not disputed
that the Plaintiff undertook some marketing efforts, see
Samardzich Depo. 76:5-21; 90:18-20; Defendants’ Supplemental
Statement of Undisputed Material Facts € 15 (“It was clear from
early discussions that [the Hotel Franchisor] was focused sclely
on social media advertising for some reason.”); Declaration of
Alexander Samardzich 7% 15-16, and (b) under Section 4.4 it was
for the Hotel Franchisor to “determine in our discretion: (i)
the extent of such activities; (11) the nature and type of media
placement; (iii) the allocation (if any) among international,
national, regional and local markets; and (iv) the nature and
type of advertising copy, other materials and programs.”
Franchise Agreement § 4.4.1.

Second, at certain points the Defendants suggest that additional
marketing promises were made, in “warious conversations, emails,
etc.” See Defendants’ Responsive Statement to Plaintiff's
Statement of Undisputed Material Facts TT 9-24. But “the parol
evidence rule prohibits the introduction of evidence that tends
to alter an integrated written document.” Conway v. 287 Corp.
Center Assocs., 187 N.Jd. 259, 268 (2006). And the franchise
agreement is integrated. See Franchise Agreement § 17.7.4. To
be sure, there are various exceptions to the parol evidence
rule. One applies when the oral evidence is used to argue that
a contract is void due to fraud. See generally Timken Silent
Automatic Corp., 119 N.J.L. at 503. That exception was in play
above. See footnote 9. But not here. Oral statements that
assertedly added marketing cbligations to the franchise
agreement do not purport to suggest anything about whether the
franchise agreement itself is or is not void. Oral statements
can also sometimes be used to clarify the meanings of an
ambiguous contractual term. See generally, e.g., Conway v. 287
Corporate Ctr. Assoc., 187 NJ. 259, 269(2006). But Defendants
press no arguments along these lines.

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4, Conclusion

To summarize: the Defendants’ second set of counterclaims is
based on the argument that the Plaintiff/Hotel Franchisor
breached the franchise agreement based on reservation system,
rewards program, and marketing issues. But these counterclaims
fail as a matter of law for the reasons discussed above. The
Hotel Franchisor’s motion for summary judgment as to these
counterclaims is therefore granted.

IV. Breach of Contract

Where things stand: the Defendants made two main arguments,
framed as counterclaims, for why the Corporate Defendant/Hotel
Owner was permitted to terminate the franchise agreement; those
have been put to one side by the Court and are no longer part of
the case. See Part IIT.

The Court now considers whether the Plaintiff/Hotel Franchisor
is entitled to summary judgment on its various breach of
contract claims ~~~ for breach of the franchise agreement, and
also the guaranty and the note.

A. Franchise Agreement

To establish a claim for breach of contract, a plaintiff must
provide proof of “a valid contract between the parties, the
opposing party’s failure to perform a defined obligation under
the contract, and a breach causing the claimant to sustain[ ]
damages.” Nelson v. Elizabeth Bd. of Educ., 246 A.3d 802, 812
(N.d. Super. Ct. App. Div. 2021); see also Globe Motor Co. Vv.
Igdalev, 225 N.J. 469, 482 (2016).

The franchise agreement was a valid contract between the
Corporate Defendant/Hotel Owner and the Plaintiff£/Hotel
Franchisor. See Plaintiff's Statement of Undisputed Material
Facts U{ 6-8; Defendants’ Response to Plaintiff's Statement of
Undisputed Material Fact @@ 6-8; Mallett Affidavit, Exhibit A;
Samardzich Depo. 26:2-5, 78

The Hotel Owner stopped performing under the franchise
agreement. This was a breach of the agreement. See Samardzich

26 The Defendants’ arguments as to why the franchise agreement
was not valid have been rejected by the Court. See Part IIIT.A.

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Depo. 52:9-16; Mallett Affidavit, Exhibit F; Memorandum in
Opposition at 4.77

And finally, the Plaintiff/Hotel Franchisor was damaged as a
result of the breach, For example, if the franchise agreement
had not been terminated, it would have run until 2036, see
Franchise Agreement § 5, and the Plaintiff would have been
entitled until then to receive certain recurring fees. See id.
at §§ 7, 18.3.

In short: the undisputed evidence establishes that the Hotel
Franchisor is entitled to summary judgment as to the Hotel
Owner’s liability for the breach of contract claim made in
connection with the franchise agreement. See Complaint WI 33-
37.

B. Guaranty

Now take the Plaintiff's breach of contract claim for the
guaranty. See Complaint 9% 52-53. This claim runs against the
Individual Defendant /Guarantor.

A guaranty is a contract that is linked to another contract, by
which a party to the second contract (the guarantor) agrees to
take on the obligations of a party to the first contract if it
does not meet its obligations. See Westville Land Co. v.
Handle, 112 N.J.L. 447, 453 (N.d. 1934). In the typical case,
if the obligation established under the first contract is
breached, and not satisfied through payment or performance, then
the guarantor is on the hook, and becomes obligated. See id.;
see also Bonefish Cap., LLC v. Autoshred, LLC, 2022 WL 518021,
at *10-12 (N.J. Super. Ct. App. Div. Peb. 22, 2022); Anabarasan
v. 53-54 Palisades Hudson Assocs., LLC, 2012 WL 1108418, at *3-4
(N.d. Super. Ct. App. Div. Apr. 4, 2012); Daimler Trucks N. Am.,
L.L.c. v. Preziosi, 2011 WL 3557319, at *5 (N.J. Super. Ct. App.
Div. Aug. 5, 2011); Ctr. 48 Ltd. Partnership v. May Dept. Stores
Co., 810 A.2d 610, 616, 620, 622 (N.J. Super. Ct. App. Div.
2002); Garfield Trust Co. v. Teichmann, 95 A.2da 18, 22-23 (N.Jd.
Super. Ct. App. Div. 1953).

Under the guaranty here, the Individual Defendant “guarent [eed]
[the Corporate Defendant’s] obligations under the
{franchise agreement],” and provided that “[u]pon default by

27 The Defendants’ arguments as to why the Hotel Owner was
allowed to breach the franchise agreement have been rejected by
the Court. See Part III.B.

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[the Corporate Defendant] and notice from [the Plaintiff] [the
Individual Defendant] will immediately make each payment and
perform or cause [the Corporate Defendant] to perform, each
unpaid or unperformed obligations of [the Corporate Defendant]
uncer the [franchise agreement].” Guaranty at 1.28

As noted above, to establish breach of contract the Plaintiff
must provide proof of “a valid contract between the parties, the
opposing party’s failure to perform a defined obligation under
the contract, and a breach causing the claimant to sustain! ]
damages.” Nelson, 246 A.3d at 812 (cleaned up).

There is no dispute that the guaranty is valid. The parties
agree they entered and signed it. See Plaintiff's Statement of

Undisputed Material Facts (7 31-34; Defendants’ Response to
Plaintiff’s Statement of Undisputed Material Facts @@ 31, 34.

The guaranty required the Guarantor “upon default” on the
franchise agreement, and notice from the Plaintiff, to
“immediately make each payment and perform or cause [the Hotel
Owner] to perform, cach unpaid or unperformed obligations of
[the Hotel Owner] under the [franchise agreement].” Guaranty at
1.

As determined above, see Part IV.A, the Hotel Owner breached the
franchise agreement, and did not pay damages to the Hotel
Franchisor. This is a defauit. The Hotel Franchisor provided
notice that the franchise agreement was breached, see Mallet
Affidavit, Exhibit G,*? and the Guarantor was then obligated to
himself step up. See Guaranty at 1. None of this happened.

See Plaintiff’s Statement of Undisputed Material Facts (4 56-58,
67; Samardzich Depo. 55:23-56:3.

The Hotel Franchisor was damaged by this breach. If the
guaranty had not been breached, the Hotel Franchisor would have
been paid. See Part IV.B (discussing fees due through 2036).

Bottom line: the undisputed evidence is that the Hotel
Franchisor is entitled to summary judgment as to the Guarantor’s

28 The guaranty also seems to cover the note. See Guaranty at
1. The Plaintiff’s arguments, though, focus only on the
obligations of the Individual Defendant/Guarantor under the
franchise agreement. See Complaint €{ 52-54.

25 Neither party contends this notice was insufficient.

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liability for the breach of contract claim made in connection
with the guaranty. See Complaint @]7 52-54.

c. Note

Finally, consider the Plaintiff's breach of contract claim as to
the note. See Complaint €{ 56-60.

A note is a “contract by the obligor to pay a debt.” Cosme v.
Khalil, 2023 WL 3886155, at *4 (N.J. Super. Ct. App. Div. June
8, 2023) (cleaned up); see also Depew v. Colton, 60 N.J. Eq.
454, 458 (EB&A 1900); Carter v. Carter, 2014 Wi, 5431299, at *5
(N.J. Super. Ct. App. Div. Oct. 28, 2014).

Under the note, the Defendants jointly and severally owed the
Plaintiff certain money. That money became “immediately due, ”
Note at 1, if particular triggering events happened. One of
those: “termination of the [f]ranchise [a]lgreement.” Id. That
happened. See Part IV.A; Mallett Affidavit, Exhibit F. But
payment under the note was not made to the Plaintiff.

Did this amount toe a breach of contract?

Under New Jersey law, a breach of contract claim based on a note
is analyzed under the same basic three-part framework (valid
contract, failure to perform, damages) as other breach of
contract claims. See Cosme, 2023 WL 3886155, at *5; Sivantos,
Inc. v. NuTech Hearing, LLC, 2019 WL 2423605, at *2 (D.N.J. June
6, 2019); Sundholm v. eSuites Hotels LLC, 2014 WL 5449975, at *8
(D.N.d. Oct. 27, 2014); Jackson Hewitt, Inc. v. Dupree-Roberts,

2013 WL 4039021, at *3 (D.N.J. Aug. 7, 2013).

Here, these elements are satisfied.

First, the note is valid. The Defendants make no argument that
it is not. See Memorandum in Opposition 15-17. And the parties
agree they entered the note. See Plaintiff’s Statement of
Undisputed Material Facts 9] 35-37; Defendants’ Response to
Plaintiff's Statement of Undisputed Material Facts ({{ 35-37.

Second, there was no performance. Given the termination of the
franchise agreement, the Defendants were required to

“immediately” pay the outstanding note balance to the Plaintiff.
They did not. See Plaintiff’s Statement of Undisputed Material

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Facts 9(%§ 68-70; Defendants’ Response to Plaintiff's Statement of
Undisputed Material Facts {1 68-70.79

Third, there are damages. As indicated, the Plaintiff has not
been paid under the note. See Memorandum in Opposition 15-17;
Plaintiff’s Statement of Undisputed Material Facts @I{ 68-70;
Defendants’ Response to Plaintiff’s Statement of Undisputed
Material Facts 79 68-70; Samardzich Depo. 57:5-23, 59:23-60:2.

In sum: on the undisputed evidence, the Plaintiff is entitled to
summary judgment as to liability on its breach of contract claim
made in connection with the note. See Complaint @71 56-60.

Vv. Damages

Given the breaches of contract discussed above, see Part IV, the
Plaintiff argues it is entitled to summary judgment as to three
types of damages. See Motion for Summary Judgement at 9.

The Court addresses each in turn.
A. Fees

'The Plaintiff first seeks certain unpaid fees. These had been
building up under the franchise agreement and are aileged to
have been due and owing as of the moment the Corporate Defendant
walked away from the agreement. See Motion for Summary
Judgement at 10.

The Plaintiff moves for summary judgment as to these fees.

The motion is denied, because there is a factual dispute as to
the fees. There is evidence they were not paid. See Mallett
Affidavit 90 45-46, Exhibit H. And there is evidence they were.
See Samardzich Depo. 56:19-57:3, 61:1-6.

B. Note

The Plaintiff moves for summary judgement as to the money it is
owed under the note.

But this motion is also denied. Among other things, how much is
owed depends on when the hotel was opened. See Note at 1] (on
“each anniversary of the Hotel’s Opening Date, one-twentieth of
the original principal amount will be forgiven without

30 The Defendants argue that the Plaintiff has failed to
mitigate damages on the note because they have not agreed to
settle the matter. See Memorandum in Opposition at 15-17. But
they do not dispute that payment has not actually been made.

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payment”). And there is a factual dispute as to that. Compare
Defendants’ Supplemental Statements of Material Facts @ 1;
Samardzich Depo. 57:5-22, 59:12-15 (hotel opened in 2016) with
Mallett Affidavit, Exhibit D (hotel opened in 2017).

c. Liquidated Damages

Next, focus on the liquidated damages that are laid out in the
franchise agreement.74 These become due if the franchise
agreement is terminated. See Franchise Agreement § 12.1. It
has been here. See Part IV.A.

The Plaintiff moves for summary judgment on its claim for
liquidated damages, see Motion for Summary Judgement at 10-13
and the Defendants oppose the motion, See Memorandum in
Opposition at 17-19.

Under New Jersey law, the Defendants have an uphill climb.

“[L]igquidated damages provisions in a commercial contract
between sophisticated parties are presumptively reasonable and
the party challenging the clause bears the burden of proving its
unreasonabieness.” Metlife Cap. Fin. Corp. v. Washington Ave.
Assocs. L.P., 159 N.S. 484, 496 (1999).

That is this case. The franchise agreement is a commercial
contract. And the parties to it are sophisticated. The Hotel
Franchisor is a part of a large international hotel group. See
Brewster Certification, Exhibit I. The Hotel Owner is a limited
liability company managed by the Guarantor. See Plaintiff's
Statement of Undisputed Material Fact @ 2; Franchise Agreement
at 29, He had been involved in the hotel industry since 1993,
and had worked on eight prior hotel projects with franchise
agreements. See Samardzich Depo. 15:10-13, 16:21-17:2.

To carry their “burden,” the Defendants make two arguments. But
these are not persuasive.

First, the Defendants note that liquidated damages can sometimes
be deemed unreasonable if they are badly out of whack with the
actual underlying damages. See Memorandum in Opposition at 19;
see generally Wasserman’s Inc. v. Middletown, 137 N.J. 238, 251
(1994). Given this background principle, the Defendants argue

they should have a chance to show what the actual damages to the

31 The franchise agreement specified that liquidated damages are
to be calculated based on a formula, set out in Section 12.1 of
the agreement.

31

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Plaintiff were for breach of the franchise agreement. See
Memorandum in Opposition at 18-19.

But the Defendants had the opportunity they now say they want.
During discovery, large volumes of documents were exchanged, and
tany witnesses were deposed. But discovery is now completed.
The Defendants could have developed evidence on the Plaintiff's
actual damages. But they apparently opted not to.%* See id. At
this stage of the litigation, the Defendants need to put forth
evidence, not to say they want to.

Second, the Defendants argue that, per one of their witnesses,
liquidated damages in this context are unreasonable because they
are based on average daily hotel room rates. See Memorandum in
Opposition at 18-19. But average daily hotel room rates are not
the basis of the franchise agreement’s liguidated damages
clause. The liquidated damages clause is based on a calculation
that uses the average recurring fees per month over the last 24

months. See Franchise Agreement § 12.1. And those fees are
primarily set based on a percentage of monthly gross room
revenue. See id. at § 7, Schedule C.*

In short: it is the Defendants’ “burden” to show the Liquidated
damages clause is unreasonable. Metlife Cap. Fin. Corp., 159
N.J. at 496. They have not carried it.

Accordingly, the Plaintiff's motion for summary judgment is
granted as to their request for liquidated damages. The precise
amount of those damages must be caiculated and has been by the
Hotel Franchisor. If the caiculation is disputed, further
motions may be necessary.

D. Prejudgment Interest

The Plaintiff also seeks summary Judgement as to prejudgment
interest on all three sorts of damages it has sought. But the
Court has denied the Plaintiff’s motion for summary judgment on
two sorts of damages, see Part V.A & V.B, and there is a

32. Indeed, the Defendants put in evidence as to their own
damages, on the assumption they would prevail on their
counterclaims. See Brewster Certification, Exhibit G.

33° Tt seems possible the Defendants are pressing an argument on
this point that did not come out quite as clearly as it might
have. If they believe that is the case, the Defendants will be
permitted to file a short letter, as set out in the Court’s
order of today.

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possible loose end on the third. See Part V.C. Accordingly,
the Court denies the motion for prejudgment interest on damages
as unripe, without prejudice to it being renewed as may be
necessary later.

VI. Attorneys’ Fees

Finally, the Plaintiff moves for summary judgment as to
attorneys’ fees.

The franchise agreement and note each suggest that attorneys’
fees may potentially be available here. See Franchise Agreement
§ 17.4; Note at 2.

But this issue is not yet ripe for decision. For example, the
agreements say attorneys’ fees may be awarded to the “prevailing
party.” See Franchise Agreement § 17.4. But it makes more
sense to determine who that is when the case is fully
concluded. 34

The Court denies the motion for attorneys’ fees without
prejudice to it being renewed at an appropriate time.

VII. Conclusion

As discussed above, the Plaintiff’s motion for summary
judgement, see Docket Entry 53, is granted in part and denied in
part.

IT IS on this 28th day of March, 2024, so ORDERED.
We

Michael EB. Farbiarz, U.S.D.d.

34 In addition, the Court’s decision here leaves open a number
of issues, and further fees may be incurred to resolve them.

33
